Case: 1:09-cv-00491 Document #: 252 Filed: 10/01/13 Page 1 of 2 PagelD #:8149

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ESTELLA ROWE, on behalf of herself and all

others similarly situated, No. 09 CV 491

Hon. Robert M. Dow, Jr.
Plaintiff,
VS.

BANKERS LIFE AND CASUALTY
COMPANY

)
)
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)
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}
)
)
Defendants. )

STIPULATION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL
PROCEDURE 41

Estella Rowe, the Plaintiff, and Bankers Life and Casualty, the Defendant, by their
respective attorneys, enter into this stipulation pursuant to Federal Rule of Civil Procedure 41

and represent to the court as follows:

1, All matters in controversy in this proceeding have been fully settled and

compromised.

2 The parties stipulate that this case should be dismissed with prejudice, with each

party to bear her or its own costs.
Case: 1:09-cv-00491 Document #: 252 Filed: 10/01/13 Page 2 of 2 PagelD #:8150

Estella Rowe

By: /s/ Abraham Brustein,
One of her attorneys
Date: October 1, 2013

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Bankers Life and Casualty Company

By: /s/ Eric 8. Mattson
One of their attorneys
Date: October 1, 2013

